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 1   NICOLA T. HANNA
     United States Attorney
 2   LAWRENCE S. MIDDLETON
     Assistant United States Attorney
 3   Chief, Criminal Division
     JUSTIN R. RHOADES (Cal. Bar No. 230463)
 4   Assistant United States Attorney
     Violent & Organized Crime Section
 5        1300 United States Courthouse
          312 North Spring Street
 6        Los Angeles, California 90012
          Telephone: (213) 894-3380
 7        Facsimile: (213) 894-3713
          E-mail:    justin.rhoades@usdoj.gov
 8
     Attorneys for Plaintiff
 9   UNITED STATES OF AMERICA

10                          UNITED STATES DISTRICT COURT

11                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,                 No. CR 17-749-ODW

13             Plaintiff,
                                               ORDER DISMISSING INDICTMENT
14                    v.                       WITH PREJUDICE PURSUANT TO FED.
                                               R. CRIM. P. 48(a)
15 DANIEL JOSEPH ZEKOLL,

16             Defendant.

17
          Pursuant to Rule 48(a) of the Federal Rules of Criminal
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     Procedure, Plaintiff United States of America has requested leave of
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     this Court to dismiss the indictment against defendant DANIEL JOSEPH
20
     ZEKOLL, with prejudice.     Having fully considered the matter, and for
21
     good cause shown, the Court hereby grants the government’s request
22
     and dismisses the indictment against defendant ZEKOLL with prejudice
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     in this case.
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          IT IS SO ORDERED.
25
     August 8, 2018
26   DATE                                      HONORABLE OTIS D. WRIGHT II
                                               UNITED STATES DISTRICT JUDGE
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